AO 121 (5HY6/)
TO:

                  5HJLVWHURI&RS\ULJKWV                                                               REPORT ON THE
                   86&RS\ULJKW2IILFH                                                       FILING OR DETERMINATION OF AN
                ,QGHSHQGHQFH$YH6(                                                            ACTION OR APPEAL
                :DVKLQJWRQ'&                                                       REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                         COURT NAME AND LOCATION
        ✔ ACTION
        G                      G APPEAL                                   United States District Court for the Eastern District of North
DOCKET NO.                          DATE FILED                            Carolina
      5:18-CV-94-BR                            3/9/2018
PLAINTIFF                                                                             DEFENDANT


EPIC GAMES, INC.                                                                      JOSEPH SPERRY a/k/a Spoezy



       COPYRIGHT
                                                                TITLE OF WORK                                              AUTHOR OR WORK
    REGISTRATION NO.

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      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                       INCLUDED BY
                                             G Amendment                 G Answer               G Cross Bill           G Other Pleading
       COPYRIGHT
                                                                TITLE OF WORK                                              AUTHOR OF WORK
    REGISTRATION NO.

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    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                    WRITTEN OPINION ATTACHED                                     DATE RENDERED

            G Order            G
                               ✔ Judgment                                     G
                                                                              ✔ Yes        G No                                         4/30/2018

CLERK                                                            (BY) DEPUTY CLERK                                            DATE

PETER A MOORE, JR.                                                                                                                       5/2/2018
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